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 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11

12
     KEN BROWAR, an individual;                  Case No.:
     DEBORAH ORY, an individual,
13
     Plaintiffs,                                 PLAINTIFF’S COMPLAINT FOR:
14
     v.
15                                               1. COPYRIGHT INFRINGEMENT
     PIXELS.COM, LLC., individually and          2. CONTRIBUTORY
16   d/b/a FINE ART AMERICA, an Illinois            COPYRIGHT INFRINGEMENT
17
     limited liability company; and DOES 1       3. VICARIOUS COPYRIGHT
     through 10,                                    INFRINGEMENT
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     Defendants.
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                                                 Jury Trial Demanded
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                                        COMPLAINT
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 1         KEN BROWAR and DEBORAH ORY, by and through their undersigned
 2   attorneys, hereby prays to this honorable Court for relief based on the following:
 3                                  JURISDICTION AND VENUE
 4         1.      This action arises under the Copyright Act of 1976, Title 17 U.S.C., §
 5   101 et seq.
 6         2.      This Court has federal question jurisdiction under 28 U.S.C. §§ 1331
 7   and 1338 (a).
 8         3.      Venue in this judicial district is proper under 28 U.S.C. §§ 1391(b)(2)
 9   and 1400(a) in that this is the judicial district in which a substantial part of the acts
10   and omissions giving rise to the claims occurred.
11                                              PARTIES
12         4.      Plaintiff KEN BROWAR (“Browar”) is an individual residing in New
13   York and conducting business within the instant forum.
14         5.      Plaintiff DEBORAH ORY (“Ory”) (collectively with Browar,
15   “Plaintiffs”) is an individual residing in New York and conducting business within
16   the instant forum.
17         6.      Plaintiffs are informed and believes and thereon allege that Defendant
18   PIXELS.COM, LLC., individually and doing business as “FINE ART AMERICA”
19   (collectively, “Pixels”) is an Illinois limited liability company with its principal place
20   of business at 2415 North Geneva Terrace, Chicago, Illinois 60614, and is conducting
21   business in and with the state of California.
22         7.      Plaintiffs’ copyrights and believe and thereon allege that Defendants
23   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
24   Plaintiffs’ copyrights, have contributed to the infringement of Plaintiffs’ copyrights,
25   or have engaged in one or more of the wrongful practices alleged herein. The true
26   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
27   inclusive, are presently unknown to Plaintiff, who therefore sues said Defendants by
28   such fictitious names, and will seek leave to amend this Complaint to show their true
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                                              COMPLAINT
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 1   names and capacities when same have been ascertained.
 2         8.      Plaintiffs are informed and believe and thereon allege that at all times
 3   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
 4   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
 5   at all times acting within the scope of such agency, affiliation, alter-ego relationship
 6   and/or employment; and actively participated in or subsequently ratified and/or
 7   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
 8   circumstances, including, but not limited to, full knowledge of each violation of
 9   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
10               CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH A
11         9.     Plaintiffs created and own an original photograph entitled
12   20140818_MistyandAlex_0386 (“Subject Photograph A”), which has been registered
13   with the United States Copyright Office.
14         10.    Subject Photograph A has been widely published and distributed,
15   including through 1) Plaintiffs’ website, http://www.nycdanceproject.com/ and
16   numerous other press publications. See http://www.nycdanceproject.com/press.
17         11.    Plaintiffs are informed and believe and thereon allege that following
18   Plaintiffs’ creation, publication, and distribution of Subject Photograph A, Pixels and
19   Does 1-2, and each of them used Subject Photograph A without Plaintiffs’
20   authorization for commercial purposes in various ways, including, but not limited to,
21   creating, manufacturing, publishing, and distributing unauthorized copies and
22   derivative works of Subject Photograph A on www.fineartamerica.com (the
23   “Infringing Content A”).
24         12.    Infringing Content includes, but is not limited to, the products from
25   Pixels Seller “Humphrey Isselt” at the following URLs:
26      • https://fineartamerica.com/featured/misty-humphrey-isselt.html and
27      • https://fineartamerica.com/featured/misty-in-blue-humphrey-isselt.html
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                                             COMPLAINT
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 1          13.   On May 20, 2023, Plaintiffs sent Pixels a fully compliant takedown
 2   requests regarding the above identified Infringing Content.
 3          14.   To date, Pixels has failed to comply with Plaintiffs’ take down request
 4   and Infringing Content A remains on Pixel’s website.
 5          15.   Subject Photograph A and an exemplar of Infringing Content A is set
 6   forth herein below:
 7         SUBJECT PHOTOGRAPH A                        INFRINGING CONTENT A
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                                           COMPLAINT
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 1               CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH B
 2         16.    Plaintiffs created and own an original photograph entitled
 3   20151031_MashaDashkinaMaddux-108 (“Subject Photograph B”), which has been
 4   registered with the United States Copyright Office.
 5         17.    Subject Photograph B has been widely published and distributed,
 6   including through 1) Plaintiffs’ website, http://www.nycdanceproject.com/ and
 7   numerous other press publications. See http://www.nycdanceproject.com/press.
 8         18.    Plaintiffs are informed and believe and thereon allege that following
 9   Plaintiffs’ creation, publication, and distribution of Subject Photograph B, Pixels and
10   Doe 3, and each of them used Subject Photograph B without Plaintiffs’ authorization
11   for commercial purposes in various ways, including, but not limited to, creating,
12   manufacturing, publishing, and distributing unauthorized copies and derivative works
13   of Subject Photograph B on www.pixels.com (the “Infringing Content B”).
14         19.    Infringing Content B includes, but is not limited to, the products from
15   Pixels Seller “Towery Hill” at the following URLs: https://pixels.com/featured/2-
16   hobby-dancing-newspaper-girl-towery-hill.html
17         20.    On August 30, 2023, Plaintiffs sent Pixels a fully compliant takedown
18   requests regarding the above identified Infringing Content.
19         21.    To date, Pixels has failed to comply with Plaintiffs’ take down request
20   and Infringing Content B remains on Pixel’s website.
21         22.    Subject Photograph B and an exemplar of Infringing Content B is set
22   forth herein below:
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                                            COMPLAINT
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 1       SUBJECT PHOTOGRAPH B                           INFRINGING CONTENT B
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14               CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH C
15         23.    Plaintiffs created and own an original photograph entitled
16   20151207_RobbieandTiler_0369 (“Subject Photograph C”), which has been
17   registered with the United States Copyright Office.
18         24.    Subject Photograph C has been widely published and distributed,
19   including through 1) Plaintiffs’ website, http://www.nycdanceproject.com/ and
20   numerous other press publications. See http://www.nycdanceproject.com/press.
21         25.    Plaintiffs are informed and believe and thereon allege that following
22   Plaintiffs’ creation, publication, and distribution of Subject Photograph C, Pixels and
23   Doe 4, and each of them used Subject Photograph C without Plaintiffs’ authorization
24   for commercial purposes in various ways, including, but not limited to, creating,
25   manufacturing, publishing, and distributing unauthorized copies and derivative works
26   of Subject Photograph C on www.pixels.com (the “Infringing Content C”).
27         26.    Infringing Content C includes, but is not limited to, the products from
28   Pixels Seller “Towery Hill” at the following URLs:
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                                            COMPLAINT
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 1      • https://pixels.com/featured/hobby-dancing-the-first-dance-towery-hill.html
 2         27.    On August 30, 2023, Plaintiffs sent Pixels a fully compliant takedown
 3   requests regarding the above identified Infringing Content.
 4         28.    To date, Pixels has failed to comply with Plaintiffs’ take down request
 5   and Infringing Content C remains on Pixel’s website.
 6         29.    Subject Photograph C and an exemplar of Infringing Content C is set
 7   forth herein below:
 8       SUBJECT PHOTOGRAPH C                          INFRINGING CONTENT C
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21               CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH D
22         30.    Plaintiffs created own an original photograph entitled
23   20160605_FanaTesfagiorgis_0288 (“Subject Photograph D”), which has been
24   registered with the United States Copyright Office.
25         31.    Subject Photograph D has been widely published and distributed,
26   including through 1) Plaintiffs’ website, http://www.nycdanceproject.com/ and
27   numerous other press publications. See http://www.nycdanceproject.com/press.
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                                           COMPLAINT
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 1         32.    Plaintiffs are informed and believe and thereon allege that following
 2   Plaintiffs’ creation, publication, and distribution of Subject Photograph D, Pixels and
 3   Doe 5-6, and each of them used Subject Photograph D without Plaintiffs’
 4   authorization for commercial purposes in various ways, including, but not limited to,
 5   creating, manufacturing, publishing, and distributing unauthorized copies and
 6   derivative works of Subject Photograph D on www.pixels.com (the “Infringing
 7   Content D”).
 8         33.    Infringing Content D includes, but is not limited to, the products from
 9   Pixels Seller “Towery Hill” at the following URLs:
10      • https://pixels.com/featured/hobby-dancing-spirit-of-dance-towery-hill.html
11         34.    On May 20, 2023, Plaintiffs sent Pixels a fully compliant takedown
12   requests regarding the above identified Infringing Content.
13         35.    To date, Pixels has failed to comply with Plaintiffs’ take down request
14   and Infringing Content D remains on Pixel’s website.
15         36.    Subject Photograph D and an exemplar of Infringing Content D is set
16   forth herein below:
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                                            COMPLAINT
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 1       SUBJECT PHOTOGRAPH D                            INFRINGING CONTENT D
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14               CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH E
15         37.      Plaintiffs created and own an original photograph entitled
16   20151125_Misty_0507 (“Subject Photograph E”), which has been registered with the
17   United States Copyright Office.
18         38.      Subject Photograph E has been widely published and distributed,
19   including through 1) Plaintiffs’ website, http://www.nycdanceproject.com/ and
20   numerous other press publications. See http://www.nycdanceproject.com/press.
21         39.      Plaintiffs are informed and believe and thereon allege that following
22   Plaintiffs’ creation, publication, and distribution of Subject Photograph E, Pixels and
23   Does 7-8, and each of them used Subject Photograph E without Plaintiffs’
24   authorization for commercial purposes in various ways, including, but not limited to,
25   creating, manufacturing, publishing, and distributing unauthorized copies and
26   derivative works of Subject Photograph E on www.pixels.com (the “Infringing
27   Content E”).
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                                             COMPLAINT
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  1          40.   Infringing Content E includes, but is not limited to, the products from
  2   Pixels Seller “Madsen” at the following URLs:
  3      • https://pixels.com/featured/dreaming-madsen.html
  4          41.   On November 3, 2023, Plaintiffs sent Pixels a fully compliant takedown
  5   requests regarding the above identified Infringing Content.
  6          42.   To date, Pixels has failed to comply with Plaintiffs’ take down request
  7   and Infringing Content E remains on Pixel’s website.
  8          43.   Subject Photograph E and an exemplar of Infringing Content E is set
  9   forth herein below:
 10         SUBJECT PHOTOGRAPH E                        INFRINGING CONTENT E
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                                            COMPLAINT
Case 2:24-cv-00772-RGK-PVC Document 1 Filed 01/29/24 Page 11 of 17 Page ID #:11




  1                CLAIMS RELATED TO THE SUBJECT PHOTOGRAPH F
  2          44.     Plaintiffs created and own an original photograph entitled
  3   20151125_Misty_0370 (“Subject Photograph F”), which has been registered with the
  4   United States Copyright Office.
  5          45.     Subject Photograph F has been widely published and distributed,
  6   including through 1) Plaintiffs’ website, http://www.nycdanceproject.com/ and
  7   numerous other press publications. See http://www.nycdanceproject.com/press.
  8          46.     Plaintiffs are informed and believe and thereon allege that following
  9   Plaintiffs’ creation, publication, and distribution of Subject Photograph F, Pixels and
 10   Does 9-10, and each of them used Subject Photograph F without Plaintiffs’
 11   authorization for commercial purposes in various ways, including, but not limited to,
 12   creating, manufacturing, publishing, and distributing unauthorized copies and
 13   derivative works of Subject Photograph F on www.pixels.com (the “Infringing
 14   Content F”).
 15          47.     On November 3, 2023, Plaintiffs sent Pixels a fully compliant takedown
 16   requests regarding the above identified Infringing Content.
 17          48.     To date, Pixels has failed to comply with Plaintiffs’ take down request
 18   and Infringing Content F remains on Pixel’s website.
 19          49.     Infringing Content F includes, but is not limited to, the products from
 20   Pixels Seller “Madsen” at the following URLs:
 21      •   https://pixels.com/featured/hoping-madsen.html
 22          50.     Subject Photograph F and an exemplar of Infringing Content F is set
 23   forth herein below:
 24   ///
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                                               COMPLAINT
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  1       SUBJECT PHOTOGRAPH F                            INFRINGING CONTENT F
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 14                               FIRST CLAIM FOR RELIEF
 15           (For Copyright Infringement – Against All Defendants, and Each)
 16         51.     Plaintiffs repeat, re-allege and incorporate herein by reference as though
 17   fully set forth the allegations contained in the preceding paragraphs of this
 18   Complaint.
 19         52.    On information and belief, Plaintiffs allege that Defendants, and each of
 20   them, had access to the Subject Photographs, including, without limitation, through
 21   viewing Plaintiffs’ website, as well as Plaintiffs’ many online profiles, publications,
 22   and features. Access is further evidenced by the reproduction of the Subject
 23   Photographs in the Infringing Content.
 24         53.    On information and belief, Plaintiffs allege that Defendants, and each of
 25   them, infringed Plaintiffs’ copyrights in the Subject Photographs by, without
 26   limitation, copying reproducing, publishing, and displaying the Subject Photographs
 27   on the Infringing Content for commercial benefit as set forth above, without
 28   Plaintiffs’ authorization or consent.
                                                 12

                                              COMPLAINT
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  1            54.   Due to Defendants’, and each of their, acts of copyright infringement,
  2   Plaintiffs have suffered general and special damages in an amount to be established at
  3   trial.
  4            55.   Due to Defendants’, and each of their, acts of copyright infringement as
  5   alleged herein, Defendants, and each of them, have obtained direct and indirect
  6   profits they would not otherwise have realized but for their infringement of Plaintiffs’
  7   rights in the Subject Photographs. As such, Plaintiffs are entitled to disgorgement of
  8   Defendants’ profits directly and indirectly attributable to Defendants’ infringement of
  9   their rights in the Subject Photographs in an amount to be established at trial.
 10            56.   On information and belief, Plaintiffs allege that Defendants, and each of
 11   them, have committed copyright infringement, as alleged above, which were willful,
 12   intentional and malicious, which further subjects Defendants, and each of them, to
 13   liability for statutory damages under Section 504(c)(2) of the Copyright Act in the
 14   sum of up to $150,000.00 per infringement and/or a preclusion from asserting certain
 15   equitable and other defenses.
 16                               SECOND CLAIM FOR RELIEF
 17       (For Contributory Copyright Infringement – Against All Defendants, and Each)
 18            57.   Plaintiffs repeat, re-allege, and incorporate herein by reference as though
 19   fully set forth, the allegations contained in the preceding paragraphs.
 20            58.   Plaintiffs allege on information and belief that Defendants knowingly
 21   induced, participated in, aided and abetted in, and profited from the illegal
 22   reproduction and distribution of the Subject Photographs as alleged hereinabove.
 23            59.   Defendants knew or should have known that the sale of unauthorized
 24   reproductions of the Subject Photographs by affiliated and third-party distributors,
 25   including, but not limited to those operating on www.fineartamerica.com and
 26   www.pixels.com, directly infringed the copyrights in and to the Subject
 27   Photographs.
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                                               COMPLAINT
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  1          60.    Defendants induced, caused, and materially contributed to the third-
  2   party distributors’ direct infringement by, at a minimum, selling and distributing
  3   products bearing unauthorized reproductions of the Subject Photographs to their
  4   third-party distributors for further sale and distribution.
  5          61.    Defendants received substantial benefits in connection with their
  6   unauthorized reproduction and distribution of the Subject Photographs, including, but
  7   not limited to revenue received from the sale of products bearing unauthorized
  8   reproductions and derivatives of the Subject Photographs.
  9          62.    Plaintiff alleges that Defendants committed contributory copyright
 10   infringement with actual knowledge or reckless disregard of its rights such that said
 11   acts of copyright infringement were, and continue to be, willful, intentional and
 12   malicious.
 13          63.    By reason of Defendants’ acts of contributory infringement as alleged
 14   above, Plaintiffs have been damaged and have suffered damages in an amount to be
 15   established at trial.
 16          64.    Due to Defendants’ acts of contributory copyright infringement as
 17   alleged herein, they have obtained direct and indirect profits they would not
 18   otherwise have realized but for their infringement of Plaintiffs’ rights in the Subject
 19   Photographs. As such, Plaintiffs are entitled to disgorgement of Defendants’ profits
 20   directly and indirectly attributable to their infringement of the Subject Photographs,
 21   in an amount to be established at trial.
 22          65.    Plaintiffs are informed and believes and thereon alleges that Defendants,
 23   and each of them, have committed acts of copyright infringement, as alleged above,
 24   which were willful, intentional and malicious, which further subjects Defendants, and
 25   each of them, to liability for statutory damages under Section 504(c)(2) of the
 26   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
 27   per infringement. Within the time permitted by law, Plaintiffs will make its election
 28   between actual damages and statutory damages.
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                                                 COMPLAINT
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  1                               THIRD CLAIM FOR RELIEF
  2        (For Vicarious Copyright Infringement – Against All Defendants, and Each)
  3          66.    Plaintiffs repeat, re-allege, and incorporate herein by reference as though
  4   fully set forth, the allegations contained in the preceding paragraphs.
  5          67.   Plaintiffs allege on information and belief that Defendants had the right
  6   and ability to supervise the infringing conduct of its affiliated and third-party
  7   distributors, by virtue of inter alia its contractual agreements with those distributors
  8   and had the right and ability to prevent the further distribution and sale of
  9   unauthorized reproductions of the Subject Photographs.
 10          68.   Defendants had a direct financial interest in the infringing activity
 11   because it received substantial benefits in connection with the unauthorized
 12   reproduction and distribution of the Subject Photographs for purposes of
 13   trade. Specifically, Defendants received revenue in connection with the sale of
 14   products bearing unauthorized reproductions and derivatives of the Subject
 15   Photographs, and was able to supervise the distribution, sale, and creation of said
 16   products.
 17          69.   Plaintiffs allege that Defendants committed vicarious copyright
 18   infringement with actual knowledge or reckless disregard of its rights such that said
 19   acts of copyright infringement were, and continue to be, willful, intentional and
 20   malicious.
 21          70.   By reason of Defendants’ acts of vicarious infringement as alleged above,
 22   Plaintiffs have been damaged and have suffered damages in an amount to be
 23   established at trial.
 24          71.   Due to Defendants’ acts of vicarious copyright infringement as alleged
 25   herein, it has obtained direct and indirect profits it would not otherwise have realized
 26   but for its infringement of Plaintiffs’ rights in the Subject Photographs. As such,
 27   Plaintiffs are entitled to disgorgement of Defendants’ profits directly and indirectly
 28   attributable to its infringement of the Subject Photographs, in an amount to be
                                                  15

                                              COMPLAINT
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  1   established at trial.
  2          72.     Plaintiffs are informed and believe and thereon allege that Defendants,
  3   and each of them, have committed acts of copyright infringement, as alleged above,
  4   which were willful, intentional and malicious, which further subjects Defendants, and
  5   each of them, to liability for statutory damages under Section 504(c)(2) of the
  6   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
  7   per infringement. Within the time permitted by law, Plaintiffs will make their
  8   elections between actual damages and statutory damages.
  9                                     PRAYER FOR RELIEF
 10   Wherefore, Plaintiff prays for judgment as follows:
 11                                Against All Defendants, and Each:
 12   With Respect to Each Claim for Relief
 13                a. That Defendants, and each of them, as well as their employees, agents,
 14                   or anyone acting in concert with them, be enjoined from infringing
 15                   Plaintiff’s copyrights in the Subject Photograph and Subject
 16                   Photographs, including without limitation an order requiring Defendants,
 17                   and each of them, to remove any content incorporating, in whole or in
 18                   part, the Subject Photograph or the Subject Photographs from any print,
 19                   web, or other publication owned, operated, or controlled by any
 20                   Defendant.
 21                b. That Plaintiff be awarded all profits of Defendants, and each of them,
 22                   plus all losses of Plaintiff, plus any other monetary advantage gained by
 23                   the Defendants, and each of them, through their infringement, the exact
 24                   sum to be proven at the time of trial, and, to the extent available,
 25                   statutory damages as available under the 17 U.S.C. § 504, and other
 26                   applicable law.
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                                                COMPLAINT
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  1            c. That a constructive trust be entered over any revenues or other proceeds
  2               realized by Defendants, and each of them, through their infringement of
  3               Plaintiff’s intellectual property rights;
  4            d. That Plaintiff be awarded his attorneys’ fees as available under the
  5               Copyright Act U.S.C. § 101 et seq.;
  6            e. That Plaintiff be awarded his costs and fees under the statutes set forth
  7               above; That Plaintiff be awarded statutory damages and/or penalties
  8               under the statues set forth above;
  9            f. That Plaintiff be awarded pre-judgment interest as allowed by law;
 10            g. That Plaintiff be awarded the costs of this action; and
 11            h. That Plaintiff be awarded such further legal and equitable relief as the
 12               Court deems proper.
 13

 14         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 15   38 and the 7th Amendment to the United States Constitution.
 16

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                                                      Respectfully submitted,

 18   Dated: January 29, 2024                By:      /s/ Stephen M. Doniger
                                                      Stephen M. Doniger, Esq.
 19
                                                      Kelsey Schultz, Esq.
 20                                                   DONIGER / BURROUGHS
                                                      Attorneys for Plaintiffs
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                                             COMPLAINT
